






















In The
Court of Appeals
Sixth Appellate District of Texas at Texarkana

______________________________

No. 06-05-00004-CV
______________________________


HERBERT FEIST, Appellant
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V.
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THE TWO HUNDRED FIFTY-SECOND DISTRICT COURT, 
ET AL., Appellees


Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;

On Appeal from the 58th Judicial District Court
Jefferson County, Texas
Trial Court No. A-168,650


Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;



Before Morriss, C.J., Ross and Carter, JJ.
Memorandum Opinion by Chief Justice Morriss


MEMORANDUM OPINION

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Herbert Feist, pro se, has appealed from a judgment of the 58th Judicial District Court in
which it granted the Texas Court of Criminal Appeals' plea to the jurisdiction.  The trial court
dismissed the claims against the Texas Court of Criminal Appeals with prejudice and imposed
monetary sanctions against the plaintiff.   The judgment does not purport to in any way affect the suit
filed by Feist against the 252nd Judicial District Court or the district clerk.  
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;The Texas Constitution vests jurisdiction over appeals from final judgments of district and
county courts in the courts of appeals, subject to restrictions and regulations prescribed by law.  Tex.
Const. Art. V, Â§ 6.   The Texas Supreme Court held in N. E. Indep. Sch. Dist. v. Aldridge, 400
S.W.2d 893, 895 (Tex. 1966), that "an appeal may be prosecuted only from a final judgment and .
. . to be final a judgment must dispose of all issues and parties in a case."  Lehmann v. Har-Con
Corp., 39 S.W.3d 191, 195 (Tex. 2001); Jack B. Anglin Co. v. Tipps, 842 S.W.2d 266, 268 (Tex.
1992).   The judgment does not dispose of all parties.  The clerk's record has been filed, and it
contains nothing that would suggest that the remaining parties have been disposed of by any means. 
The judgment is not final, and we have no jurisdiction over the appeal.
Â&nbsp;
Â&nbsp;
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Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;We dismiss the appeal for want of jurisdiction.
Â&nbsp;
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Josh R. Morriss, III
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Chief Justice

Date Submitted:Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;April 12, 2005
Date Decided:Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;April 13, 2005





ers Medium"&gt;	As we recognized and discussed in our opinion in Love, the length of a detention may render
a traffic stop unreasonable and there is not an absolute and unbending time line which prescribes
when the duration of the stop has become unreasonable.  United States v. Sharpe, 470 U.S. 675, 679
(1985).  In lieu of such an unyielding or bright-line rule, common sense and ordinary human
experience must govern over rigid criteria.  Id. at 685.  The reasonableness of the duration of a
detention depends on whether the police diligently pursued a means of investigation that was likely
to confirm or dispel their suspicions expeditiously, during which time it was necessary to detain the
defendant.  Id. at 686.   In determining the reasonableness of the duration of a detention, the trial and
appellate courts may consider legitimate law enforcement purposes served by any delay in the
officer's investigation.  Id. at 685.   Fourth Amendment reasonableness requires a balance between
serving the interest of the public as weighed against the individual's right to be free from arbitrary
detentions and intrusions.  Kothe v. State, 152 S.W.3d 54, 63 (Tex. Crim. App. 2004).

Background

	After he was stopped, Montoy told the officer that he was driving (nonstop) from Arizona
to Shreveport, Louisiana, for a job.  He was stopped about two hours short of his stated ultimate
destination.  In reviewing the actions of that afternoon, we note that the parties acknowledge that a
valid initial traffic stop (based on the absence of required mud flaps on the truck and the inability
to clearly see the dealer tag on the vehicle) occurred. 

	While in the course of completing actions related to that traffic stop, the officer testified that
in continuing the detention, he became suspicious because (a) although Montoy said the vehicle
belonged to him, it was registered to another person, (b) the ignition keys were unaccompanied by
other keys (such as household keys) attached to the ring, (c) Montoy represented that he had driven
the entire distance from Tucson without stopping, (d) although Montoy had said that he was going
to Shreveport for heating and cooling work, he had the type of tools ("the stuff in the back of the
truck") that did not conform to the kind of work he indicated he was going to perform, (e) his driver's
license had been suspended (a situation which Montoy disputed), (f) he failed to tell the truth
regarding his past criminal history, (g) Montoy had no proof of insurance, and (h) Montoy's cell
phone was lying in the seat with the back off and the battery removed. (4) 

	The officer testified that a tool box was bolted to the pickup and that the pickup bed had an
assortment of cords and hoses thrown on top of some large canisters (of the type to hold pressurized
gases) in the back, with a ladder and a jack as well.  The canisters or cylinders appeared to have been
freshly painted.  Although Montoy told the officer that all of the canisters were empty, when the
officer picked them up, there was a large discrepancy in weight between the canisters, a fact which
led the officer to believe that the heavier canisters were not empty.  The canisters were welded shut.
While still at the scene of the stop, a constable drilled holes in the canisters, and when the drills were
pulled back out, they came out bearing a green leafy material.  




ANALYSIS

	Continuation of the Traffic Stop

	In looking at the actions that night, we first look to see whether there was evidentiary support
justifying a continuation of the traffic stop and allowing it to morph into a different type of stop.   
	First, was there justification for continuing the stop?  The first prong under Terry is not at
issue:  it is clear that the traffic stop was justified at its inception and there is no suggestion that the
time of that portion of the stop was unreasonably or inappropriately lengthy. The real question is
whether there was justification for a continuation of the stop and then whether that justification was
sufficient to support the length of the stop.  The officer articulated reasons, as set out above, for his
suspicion that some other infraction might be occurring.  He then contacted a nearby canine drug
search unit to do an open air sniff around the truck.  The officer testified that the dog arrived between
fifteen and thirty minutes later and alerted around the canisters in the bed of the truck (an act on the
part of the dog which indicated that drugs might be present).

	This is a short enough delay to not be facially inappropriate, based on reasonable and
articulated reasons for extending the stop beyond the length of the pure traffic stop.  We conclude
that the trial court had evidence before it which would permit it to conclude that the stop was not
unconstitutional, and we find no error in its refusal to suppress the evidence on that basis.



	Destructive Search

	 Montoy next argues that the evidence should be suppressed because the officers conducted
a destructive search without having first obtained a warrant. This argument is based on the
uncontroverted evidence that in order to "search" the pressurized gas canisters, they drilled a hole
through the side of the canisters.  However, the argument made under this issue differs from the
premise stated.  In his argument, Montoy contends that there was nothing to indicate that an offense
had occurred and argues that there is no basis for believing that evidence of the offense might be
found in the vehicle.  He directs the Court to Arizona v. Gant,  129 S. Ct. 1710 (2009), as support for
his contention.

	Arizona v. Gant is the most recent pronouncement by the United States Supreme Court on
the concept of a search of an automobile incident to the arrest of its occupants. Although it does limit
the State's ability to search a vehicle incident to an arrest based on any reason, it does not purport to
disallow all vehicular searches.

	We also conclude that circumstances unique to the vehicle context justify a search
incident to a lawful arrest when it is "reasonable to believe evidence relevant to the
crime of arrest might be found in the vehicle."  Thornton, 541 U.S., at 632, 124 S. Ct.
2127, 158 L. Ed. 2d 905 (SCALIA, J., concurring in judgment).

Id. at 1719.			

	As previously pointed out, the drug dog did indicate the presence of drugs in the truck bed,
although it could not specify the location.  The analysis of Gant thus provides no support for the
issue as stated, and also does not assist Montoy in the issue as argued.  The contention of error is
overruled.

	Lack of Pretrial Suppression Hearing

	Montoy next argues that the trial court committed reversible error by not conducting a pretrial
hearing on the suppression issue.  He indicates that this course of action placed him in the position
of having to make his decision on the entry of his plea without knowing what evidence the State
could utilize in its case against him.

	This request was not brought before the trial court for decision; therefore, this claim of error
has not been clearly preserved for our review.  Tex. R. App. P. 33.1.

	Even had it been properly preserved, however, courts have consistently approved the
procedure of allowing a trial judge to determine at which point a suppression motion will be heard. 
As a general rule, Article 28.01 prescribes the pretrial motion practice for criminal cases.  Tex. Code
Crim. Proc. Ann. art. 28.01 (Vernon 2006).  Those terms are not mandatory, however, and the
question of whether to hold a pretrial hearing on a pretrial motion to suppress evidence is described
as resting within the sound discretion of the trial court. Calloway v. State, 743 S.W.2d 645, 649
(Tex. Crim. App. 1988); Morrison v. State, 71 S.W.3d 821, 825-26 (Tex. App.--Corpus Christi
2002, no pet.);  State v. Reed, 888 S.W.2d 117, 119 (Tex. App.--San Antonio 1994, no pet.).

	The contention of error is overruled.


	Application of Daubert to Suppression Issues

	Montoy finally argues that the court erred by not granting his Daubert motion seeking to
address the scientific basis and reliability of a density meter used by police before they decided to
drill holes into the canisters.  That issue is connected with the motion to suppress.  The evidence
about the use of the device was one way in which the State sought to show that the officers had a
reasonable belief that contraband was inside the canisters.

	The controlling rule is Rule 101(d)(1)(A) of the Texas Rules of Evidence, which provides:

	These rules, except with respect to privileges, do not apply in the following
situations:

	

	(A) the determination of questions of fact preliminary to admissibility of evidence
when the issue is to be determined by the court under Rule 104.

  

	In turn, Rule 104(a) provides:	

	Preliminary questions concerning the qualification of a person to be a witness, the
existence of a privilege, or the admissibility of evidence shall be determined by the
court, subject to the provisions of subdivision (b).  In making its determination the
court is not bound by the rules of evidence except those with respect to privileges. 


Tex. R. Evid. 104(a). 


	Because suppression hearings involve the determination of preliminary questions concerning
the admissibility of evidence, the language of the current rules indicates that the Rules of Evidence
(except privileges) no longer apply to suppression hearings.  Granados v. State, 85 S.W.3d 217, 227
(Tex. Crim. App. 2002).

	The Daubert analysis was created and is applied to allow courts to determine which evidence
is properly admissible over an objection pursuant to Tex. R. Evid. 702. (5)  Accordingly, the proffered
evidence falls squarely within the general rule announced in Granados and thus was properly before
the court for consideration. As a result, it is both unnecessary and inappropriate for us to consider
the admissibility of the evidence under the Daubert standards.  Error has not been shown.

	The judgment is affirmed.			



							Bailey C. Moseley

							Justice


Date Submitted:	October 7, 2009

Date Decided:		October 27, 2009


Do Not Publish
1. Originally appealed to the Twelfth Court of Appeals, this case was transferred to this Court
by the Texas Supreme Court pursuant to its docket equalization efforts.  See Tex. Gov't Code Ann. 

§ 73.001 (Vernon 2005).  We are unaware of any conflict between precedent of the Twelfth Court
of Appeals and that of this Court on any relevant issue.  See Tex. R. App. P. 41.3.
2. See Daubert v. Merrell Dow Pharms, Inc., 509 U.S. 579 (1993) (discussing admissibility
of scientific evidence under Fed. R. Evid. 702); Kelly v. State, 824 S.W.2d 568 (Tex. Crim. App.
1992) (discussing admissibility of scientific evidence under Tex. R. Evid. 702).
3. Campbell Security Buster K910B Density Meter, a device that uses gamma rays to determine
the density of materials.
4. The officer testified that when phones are disassembled he found it suspicious because it
would eliminate the ability for a policeman to obtain numbers and other information from the phone.
5. Under Texas Rule of Evidence 702, the trial court must determine whether proffered
scientific expert testimony "is sufficiently reliable and relevant to help the jury in reaching accurate
results."  Kelly, 824 S.W.2d at 572.


